         Case 23-18993-MBK                       Doc 1     Filed 10/15/23 Entered 10/15/23 21:45:24                              Desc Main
                                                          Document      Page 1 of 51

Fill in this information to identify the case:

United States Bankruptcy Court for the:
                            District of New Jersey
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   06/22
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Rite Aid Corporation


                                                 N/A
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                    Principal place of business                                    Mailing address, if different from principal place
                                                                                                      of business
                                       1200 Intrepid Avenue, 2nd Floor
                                       Number              Street                                     Number         Street


                                                                                                      P.O. Box
                                       Philadelphia,           Pennsylvania         19122
                                          City                            State     Zip Code          City                         State     Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                       Philadelphia County
                                          County                                                      Number         Street




                                                                                                      City                         State     Zip Code




5. Debtor’s website (URL)                 https://www.riteaid.com/

6.   Type of debtor                    ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                       ☐ Partnership (excluding LLP)

                                       ☐ Other. Specify:




      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1
         Case 23-18993-MBK                   Doc 1        Filed 10/15/23 Entered 10/15/23 21:45:24                               Desc Main
                                                         Document      Page 2 of 51
Debtor            Rite Aid Corporation                                                 Case number (if known)
           Name



                                             A. Check One:
7.   Describe debtor’s business
                                             ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                             ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                             ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                             ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                             ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                             ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                             ☒ None of the above

                                             B. Check all that apply:
                                             ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                             ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                § 80a-3)
                                             ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                             C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             5511

8. Under which chapter of the            Check One:
   Bankruptcy Code is the
   debtor filing?                        ☐ Chapter 7

                                         ☐ Chapter 9

      A debtor who is a “small           ☒ Chapter 11. Check all that apply:
      business debtor” must check
                                                  ☐      The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
      the first sub- box. A debtor as
      defined in § 1182(1) who                           noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
      elects to proceed under                            $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
      subchapter V of chapter 11                         operations, cash-flow statement, and federal income tax return or if any of these documents do
      (whether or not the debtor is                      not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      a “small business debtor”)                  ☐      The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
      must check the second sub-                         debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
      box                                                proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                         balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                         any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                  ☒      A plan is being filed with this petition.
                                                  ☐      Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                         accordance with 11 U.S.C. § 1126(b).
                                                  ☒      The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                         Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File
                                                         the Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                         (Official Form 201A) with this form.
                                                  ☐      The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                         ☐ Chapter 12

9. Were prior bankruptcy cases           ☒ No         District
   filed by or against the debtor        ☐ Yes.                                           When       MM/DD/YYYY    Case number
   within the last 8 years?
                                                      District                            When                     Case number
     If more than 2 cases, attach a                                                                  MM/DD/YYYY
     separate list.




     Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
         Case 23-18993-MBK                  Doc 1         Filed 10/15/23 Entered 10/15/23 21:45:24                                  Desc Main
                                                         Document      Page 3 of 51
Debtor           Rite Aid Corporation                                                  Case number (if known)
          Name



10. Are any bankruptcy cases            ☐ No
    pending or being filed by a         ☒ Yes.                                                                       Relationship    Affiliate
                                                      Debtor        See Rider 1
    business partner or an
    affiliate of the debtor?                          District      New Jersey
   List all cases. If more than 1,                                                                                   When            10/15/2023
   attach a separate list.                          Case number, if known _______________________                                    MM / DD / YYYY

11. Why is the case filed in this       Check all that apply:
    district?
                                        ☐   Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                        ☒   A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have         ☒ No
    possession of any real              ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                          Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                  ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                        safety.
                                                        What is the hazard?

                                                  ☐     It needs to be physically secured or protected from the weather.

                                                  ☐      It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                         (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or
                                                         other options).
                                                  ☐     Other


                                                  Where is the property?
                                                                                          Number        Street



                                                                                          City                               State       Zip Code



                                                  Is the property insured?
                                                  ☐ No

                                                  ☐ Yes.         Insurance agency

                                                                 Contact name
                                                                 Phone




                       Statistical and administrative information

13. Debtor's estimation of            Check one:
    available funds
                                      ☒ Funds will be available for distribution to unsecured creditors.
                                      ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of               ☐      1-49                         ☐       1,000-5,000                    ☐     25,001-50,000
    creditors (on a                   ☐      50-99                        ☐       5,001-10,000                   ☐     50,001-100,000
    consolidated basis)               ☐      100-199                      ☐       10,001-25,000                  ☒     More than 100,000
                                      ☐      200-999




   Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
         Case 23-18993-MBK                  Doc 1       Filed 10/15/23 Entered 10/15/23 21:45:24                                    Desc Main
                                                       Document      Page 4 of 51
Debtor           Rite Aid Corporation                                               Case number (if known)
          Name



15. Estimated assets (on a          ☐       $0-$50,000                 ☐     $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
    consolidated basis)             ☐       $50,001-$100,000           ☐     $10,000,001-$50 million                ☒    $1,000,000,001-$10 billion
                                    ☐       $100,001-$500,000          ☐     $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                    ☐       $500,001-$1 million        ☐     $100,000,001-$500 million              ☐    More than $50 billion

16. Estimated liabilities (on       ☐       $0-$50,000                  ☐    $1,000,001-$10 million                 ☐ $500,000,001-$1 billion
    a consolidated basis)           ☐       $50,001-$100,000            ☐    $10,000,001-$50 million                ☒ $1,000,000,001-$10 billion
                                    ☐       $100,001-$500,000           ☐    $50,000,001-$100 million               ☐ $10,000,000,001-$50 billion
                                    ☐       $500,001-$1 million         ☐    $100,000,001-$500 million              ☐ More than $50 billion

                   Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of        The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of        petition.
    debtor
                                        I have been authorized to file this petition on behalf of the debtor.
                                        I have examined the information in this petition and have a reasonable belief that the information is true and
                                        correct.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                        Executed on         10/15/2023
                                                             MM/ DD / YYYY


                                             /s/ Jeffrey S. Stein                                               Jeffrey S. Stein
                                             Signature of authorized representative of debtor                Printed name

                                             Title   Chief Executive Officer and Chief
                                                     Restructuring Officer




18. Signature of attorney                    /s/ Michael D. Sirota                                          Date        10/15/2023
                                             Signature of attorney for debtor                                           MM/DD/YYYY



                                             Michael D. Sirota
                                             Printed name
                                             Cole Schotz P.C.
                                             Firm name
                                             25 Main Street
                                             Number                     Street
                                             Hackensack                                                             NJ                07601
                                             City                                                                   State               ZIP Code

                                             (201) 489-3000                                                         msirota@coleschotz.com
                                             Contact phone                                                              Email address
                                             014321986                                           NJ
                                             Bar number                                          State




   Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 4
Case 23-18993-MBK                     Doc 1        Filed 10/15/23 Entered 10/15/23 21:45:24                            Desc Main
                                                  Document      Page 5 of 51


Official Form 201A

                                          UNITED STATES BANKRUPTCY COURT
                                               DISTRICT OF NEW JERSEY

                                                                      )
In re:                                                                )       Chapter 11
                                                                      )
RITE AID CORPORATION,                                                 )       Case No. 23-___________(___)
                                                                      )
                                 Debtor.                              )       (Joint Administration Requested)
                                                                      )
      Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11

    1. If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file
number is   1-5742

    2. The following financial data is the latest available information and refers to the debtor’s condition on
June 3, 2023


      (a)   Total assets                                                  $    7,650,418,000
      (b)   Total debts (including debts listed in 2.c., below)           $    8,597,866,000
      (c)   Debt securities held by more than 500 holders
                                                                                                         Approximate
                                                                                                         number of
                                                                                                         holders:
      secured     ☐    unsecured     ☐    subordinated      ☐     $
      secured     ☐    unsecured     ☐    subordinated      ☐     $
      secured     ☐    unsecured     ☐    subordinated      ☐     $
      secured     ☐    unsecured     ☐    subordinated      ☐     $
      secured     ☐    unsecured     ☐    subordinated      ☐     $


      (d)   Number of shares of preferred stock                                                          0
      (e)   Number of shares of common stock                                                             56,696,332


      Comments, if any:




     3. Brief description of debtor’s business: Operator of over 2,000 retail pharmacy locations and a nationwide
pharmacy benefits management business conducting business under the names Rite Aid, Elixir, Bartell Drugs, and Health
Dialog.

     4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the
voting securities of debtor:
N/A
Case 23-18993-MBK                    Doc 1         Filed 10/15/23 Entered 10/15/23 21:45:24           Desc Main
                                                  Document      Page 6 of 51



    Fill in this information to identify the case:
                                                                        ,
    United States Bankruptcy Court for the:
                            District of New Jersey
                                        (State)                                               ☐ Check if this is an
    Case number (if                                                                               amended filing
    known):                                          Chapter   11



                                                 Rider 1
                  Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in
the United States Bankruptcy Court for the District of New Jersey for relief under chapter 11 of title 11 of
the United States Code. The Debtors have moved for joint administration of these cases under the case
number assigned to the chapter 11 case of Rite Aid Corporation.

•      Rite Aid Corporation                                         •   Juniper Rx, LLC
•      1515 West State Street, Boise, Idaho, LLC                    •   K & B Alabama Corporation
•      1740 Associates, L.L.C.                                      •   K & B Louisiana Corporation
•      4042 Warrensville Center Road -                              •   K & B Mississippi Corporation
       Warrensville Ohio, Inc.                                      •   K & B Services, Incorporated
•      5277 Associates, Inc.                                        •   K & B Tennessee Corporation
•      5600 Superior Properties, Inc.                               •   K&B Texas Corporation
•      Advance Benefits, LLC                                        •   K & B, Incorporated
•      Apex Drug Stores, Inc.                                       •   Lakehurst and Broadway Corporation
•      Ascend Health Technology LLC                                 •   Laker Software, LLC
•      Broadview and Wallings-Broadview Heights                     •   LMW – 90B Avenue Lake Oswego, Inc.
       Ohio, Inc.                                                   •   Maxi Drug North, Inc.
•      Design Rx Holdings LLC                                       •   Maxi Drug South, L.P.
•      Design Rx, LLC                                               •   Maxi Drug, Inc.
•      Designrxclusives, LLC                                        •   Maxi Green Inc.
•      Drug Palace, Inc.                                            •   Munson & Andrews, LLC
•      Eckerd Corporation                                           •   Name Rite, L.L.C.
•      EDC Drug Stores, Inc.                                        •   P.J.C. Distribution, Inc.
•      Elixir Holdings, LLC                                         •   P.J.C. Realty Co., Inc.
•      Elixir Pharmacy, LLC                                         •   PDS-1 Michigan, Inc.
•      Elixir Puerto Rico, Inc.                                     •   Perry Drug Stores, Inc.
•      Elixir Rx Options, LLC                                       •   PJC Lease Holdings, Inc.
•      Elixir Rx Solutions of Nevada, LLC                           •   PJC Manchester Realty LLC
•      Elixir Rx Solutions, LLC                                     •   PJC of Massachusetts, Inc.
•      Elixir Rx Solutions, LLC                                     •   PJC of Rhode Island, Inc.
•      Elixir Savings, LLC                                          •   PJC of Vermont Inc.
•      First Florida Insurers of Tampa, LLC                         •   PJC Peterborough Realty LLC
•      GDF, Inc.                                                    •   PJC Realty MA, Inc.
•      Genovese Drug Stores, Inc.                                   •   PJC Revere Realty LLC
•      Gettysburg and Hoover-Dayton, Ohio, LLC                      •   PJC Special Realty Holdings, Inc.
•      Grand River & Fenkell, LLC                                   •   RCMH LLC
•      Harco, Inc.                                                  •   RDS Detroit, Inc.
•      Health Dialog Services Corporation                           •   READ’s Inc.
•      Hunter Lane, LLC                                             •   RediClinic Associates, Inc.
•      ILG – 90 B Avenue Lake Oswego, LLC                           •   RediClinic of Dallas-Fort Worth, LLC
•      JCG (PJC) USA, LLC                                           •   RediClinic of DC, LLC
•      JCG Holdings (USA), Inc.                                     •   RediClinic of DE, LLC
Case 23-18993-MBK          Doc 1     Filed 10/15/23 Entered 10/15/23 21:45:24   Desc Main
                                    Document      Page 7 of 51


•   RediClinic of MD, LLC
•   RediClinic of PA, LLC
•   RediClinic of VA, LLC
•   RediClinic LLC
•   RediClinic US, LLC
•   Richfield Road – Flint, Michigan, LLC
•   Rite Aid Drug Palace, Inc.
•   Rite Aid Hdqtrs. Corp.
•   Rite Aid Hdqtrs. Funding, Inc.
•   Rite Aid Lease Management Company
•   Rite Aid of Connecticut, Inc.
•   Rite Aid of Delaware, Inc.
•   Rite Aid of Georgia, Inc.
•   Rite Aid of Indiana, Inc.
•   Rite Aid of Kentucky, Inc.
•   Rite Aid of Maine, Inc.
•   Rite Aid of Maryland, Inc.
•   Rite Aid of Michigan, Inc.
•   Rite Aid of New Hampshire, Inc.
•   Rite Aid of New Jersey, Inc.
•   Rite Aid of New York, Inc.
•   Rite Aid of North Carolina, Inc.
•   Rite Aid of Ohio, Inc.
•   Rite Aid of Pennsylvania, LLC
•   Rite Aid of South Carolina, Inc.
•   Rite Aid of Tennessee, Inc.
•   Rite Aid of Vermont, Inc.
•   Rite Aid of Virginia, Inc.
•   Rite Aid of Washington, D.C. Inc.
•   Rite Aid of West Virginia, Inc.
•   Rite Aid Online Store, Inc.
•   Rite Aid Payroll Management, Inc.
•   Rite Aid Realty Corp.
•   Rite Aid Rome Distribution Center, Inc.
•   Rite Aid Specialty Pharmacy, LLC
•   Rite Aid Transport, Inc.
•   Rite Investments Corp.
•   Rite Investments Corp., LLC
•   Rx Choice, Inc.
•   Rx Initiatives, L.L.C.
•   Rx USA, Inc.
•   The Bartell Drug Company
•   The Jean Coutu Group (PJC) USA, Inc.
•   The Lane Drug Company
•   Thrift Drug, Inc.
•   Thrifty Corporation
•   Thrifty PayLess, Inc.
•   Tonic Procurement Solutions, LLC
Case 23-18993-MBK              Doc 1      Filed 10/15/23 Entered 10/15/23 21:45:24                    Desc Main
                                         Document      Page 8 of 51


                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF NEW JERSEY

                                                                     )
    In re:                                                           )   Chapter 11
                                                                     )
    RITE AID CORPORATION,                                            )   Case No. 23-[____] (___)
                                                                     )
                             Debtor.                                 )
                                                                     )

                                   LIST OF EQUITY SECURITY HOLDERS1

                                                                                            Percentage of
               Equity Holder                      Address of Equity Holder
                                                                                             Equity Held
                     N/A                                       N/A                                  N/A




1      This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the
       Federal Rules of Bankruptcy Procedure. All equity positions listed indicate the record holder of such
       equity as of the date of commencement of the chapter 11 case. By the Debtors’ Motion for Entry of
       Interim and Final Orders (I) Authorizing the Debtors to (A) File a Consolidated List of the Debtors’ Fifty
       Largest Unsecured Creditors, (B) File a Consolidated List of Creditors in Lieu of Submitted a Separate
       Mailing Matrix for Each Debtor, (c) Redact Certain Personally Identifiable Information of Natural
       Persons, (II) Waiving the Requirement to File a List of Equity Holders and Provide Notices Directly to
       Equity Security Holders, and (III) Granting Related Relief filed contemporaneously herewith, the Debtor
       is requesting a waiver of the requirement under Bankruptcy Rule 1007 to file a list of all its equity
       security holders.
Case 23-18993-MBK           Doc 1     Filed 10/15/23 Entered 10/15/23 21:45:24               Desc Main
                                     Document      Page 9 of 51


                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF NEW JERSEY

                                                             )
 In re:                                                      )   Chapter 11
                                                             )
 RITE AID CORPORATION,                                       )   Case No. 23-[____] (___)
                                                             )
                         Debtor.                             )
                                                             )

                                   CORPORATE OWNERSHIP STATEMENT

        Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, there are
no corporations, other than a government unit, that directly or indirectly own 10% or more of any class of
the debtor’s equity interest.
        Case 23-18993-MBK                                        Doc 1         Filed 10/15/23 Entered 10/15/23 21:45:24                                                                      Desc Main
                                                                              Document     Page 10 of 51

Fill in this information to identify the case:
Debtor name: Rite Aid Corporation
United States Bankruptcy Court for the: District of New Jersey
Case number (If known): ___________                                                                                                                                                Check if this is an amended filing


Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders
12/15

A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who
is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
holders of the 50 largest unsecured claims.

     Name of creditor and complete mailing            Name, telephone number, and email address of                 Nature of the claim Indicate if claim is   Amount of unsecured claim
     address, including zip code                      creditor contact                                             (for example, trade contingent,            If the claim is fully unsecured, fill in only unsecured
                                                                                                                   debts, bank loans,  unliquidated, or       claim amount. If claim is partially secured, fill in total
                                                                                                                   professional        disputed               claim amount and deduction for value of collateral or
                                                                                                                   services, and                              setoff to calculate unsecured claim.
                                                                                                                   government                                 Total claim, if     Deduction     Unsecured claim
                                                                                                                   contracts)                                 partially           for value of
                                                                                                                                                              secured             collateral or
                                                                                                                                                                                  setoff
     MCKESSON CORPORATION
                                                      Attn: Brian S. Tyler
     6555 STATE HWY 161                                                                                                 TRADE
 1                                                    Title: Chief Executive Officer                                                                                                                  $667,570,707
     IRVING, TX 75039                                                                                                 PAYABLES
                                                      Phone: On File
     UNITED STATES
                                                      Attn: Donnie Hurrelbrink, Angela Davis, Martha Earley,
   U.S. BANK TRUST NATIONAL
                                                      Jason R. Dressel, Jay Paulson, Christine Robinette
   ASSOCIATION
                                                      Title: Vice President                                        7.7% NOTES DUE
 2 300 E DELAWARE AVE                                                                                                                                                                                 $199,691,000
                                                      Phone: On File                                               FEBRUARY 2027
   WILMINGTON, DE 19809
                                                      Email: On File
   UNITED STATES
                                                      Fax: 651-466-7431

   HUMANA HEALTH PLAN, INC.
                                                      Attn: Keith J. Harrison, Esq.
   C/O CROWELL & MORING LLP
                                                      Phone: On File
 3 1001 PENNSYLVANIA AVENUE, NW                                                                                       LITIGATION                                                                      $136,832,724
                                                      Email: On File
   WASHINGTON, DC 20004
                                                      Fax: 202-628-5116
   UNITED STATES


   LOYD F. SCHMUCKLEY JR., RELATOR
   C/O CALIFORNIA DEPARTMENT OF
   JUSTICE, OFFICE OF THE ATTORNEY                    Attn: Emmanuel R. Salazar and Bernice L. Louie Yew
 4 GENERAL                                            Phone: On File                                                  LITIGATION                                                                      $58,000,000
   1300 "I" STREET                                    Email: On File
   SACRAMENTO, CA 95814-2919
   UNITED STATES


     SEQIRUS USA INC
                                                      Attn: Stephen Marlow
     25 DEFOREST AVE                                                                                                    TRADE
 5                                                    Title: Senior Vice President                                                                                                                    $35,414,901
     SUMMIT, NJ 07901                                                                                                 PAYABLES
                                                      Phone: On File
     UNITED STATES

   MEDICAL CARD SYSTEM
   MCS PLAZA 1 ER PISO SUITE 105 255 AVE Attn: Jim O’Drobinak
                                                                                                                      CUSTOMER
 6 PONCE DE LEON                         Title: Chief Executive Officer                                                                                                                               $28,109,859
                                                                                                                      LIABILITIES
   SAN JUAN, 00916-1919                  Phone: On File
   PUERTO RICO

     PRISMA HEALTH                                    Attn: Mark S. O'Halla
     2806 S GARFIELD STREET                           Title: President and Chief Executive Officer                    CUSTOMER
 7                                                                                                                                                                                                    $12,355,499
     MISSOULA, MT 59801                               Phone: On File                                                  LIABILITIES
     UNITED STATES                                    Email: On File

   AMERISOURCEBERGEN DRUG CORP
                                                      Attn: Steven H. Collis
   ELEVATE
                                                      Title: Chief Executive Officer                                    TRADE
 8 1300 MORRIS DRIVE                                                                                                                                                                                  $11,839,180
                                                      Phone: On File                                                  PAYABLES
   CHESTERBROOK, PA 19087
                                                      Fax: 800-640-5221
   UNITED STATES

     UFCWNORCAL                                       Attn: Jacques Loveall
     2200 PROFESSIONAL DRIVE                          Title: President                                                CUSTOMER
 9                                                                                                                                                                                                    $10,264,901
     ROSEVILLE, CA 95661                              Phone: On File                                                  LIABILITIES
     UNITED STATES                                    Fax: 916-786-0958

     WALGREENS DRUG STORES
                                                      Attn: Jeff Gruener
     200 WILMOT RD                                                                                                    CUSTOMER
10                                                    Title: Senior Vice President and Chief Financial Officer                                                                                         $9,502,225
     DEERFIELD, IL 60015-4260                                                                                         LIABILITIES
                                                      Email: On File
     UNITED STATES

   BRIGHT HEALTH PLANS
   8000 NORMAN CENTER DRIVE                           Attn: Jay Matushak
                                                                                                                      CUSTOMER
11 SUITE 1200                                         Title: Chief Financial Officer                                                                                                                   $8,757,822
                                                                                                                      LIABILITIES
   MINNEAPOLIS, MN 55437                              Email: On File
   UNITED STATES

     CVS HEALTH CORP
                                                      Attn: Karen S. Lynch
     1 CVS DRIVE                                                                                                      CUSTOMER
12                                                    Title: Chief Executive Officer                                                                                                                   $7,140,208
     WOONSOCKET, RI 02895                                                                                             LIABILITIES
                                                      Phone: On File
     UNITED STATES




                                                                                                          1 of 4
       Case 23-18993-MBK                            Doc 1             Filed 10/15/23 Entered 10/15/23 21:45:24                                                                     Desc Main
                                                                     Document     Page 11 of 51

     Name of creditor and complete mailing   Name, telephone number, and email address of                Nature of the claim Indicate if claim is   Amount of unsecured claim
     address, including zip code             creditor contact                                            (for example, trade contingent,            If the claim is fully unsecured, fill in only unsecured
                                                                                                         debts, bank loans,  unliquidated, or       claim amount. If claim is partially secured, fill in total
                                                                                                         professional        disputed               claim amount and deduction for value of collateral or
                                                                                                         services, and                              setoff to calculate unsecured claim.
                                                                                                         government                                 Total claim, if     Deduction     Unsecured claim
                                                                                                         contracts)                                 partially           for value of
                                                                                                                                                    secured             collateral or
                                                                                                                                                                        setoff

     ACON LABORATORIES                       Attn: Lin Jixun
     10125 MESA RIM RD                       Title: Chief Executive Officer                                   TRADE
13                                                                                                                                                                                           $6,993,904
     SAN DIEGO, CA 92121                     Phone: On File                                                 PAYABLES
     UNITED STATES                           Fax: 858-200-0729

   IMARI ANDREWS, ET AL.
   C/O FITAPELLI & SCHAFFER, LLP
                                             Attn: Brian S. Schaffer, Esq.and Hunter G Benharris, Esq.
14 28 LIBERTY STREET, 30TH FLOOR                                                                            LITIGATION                                                                       $6,450,000
                                             Phone: On File
   NEW YORK, NY 10005
   UNITED STATES
   COX HEALTHPLANS                           Attn: Max D. Buetow
   MEDICAL MILE PLAZA                        Title: Chief Executive Officer
                                                                                                            CUSTOMER
15 3200 S. NATIONAL, BUILDING B              Phone: On File                                                                                                                                  $5,507,776
                                                                                                            LIABILITIES
   SPRINGFIELD, MO 65807                     Email: On File
   UNITED STATES                             Fax: 417-269-9599
   VIRGINIA PREMIER HEALTHPLANS
                                             Attn: Linda Hines
   600 E BROAD ST
                                             Title: Chief Executive Officer                                 CUSTOMER
16 ST# 400                                                                                                                                                                                   $5,355,911
                                             Phone: On File                                                 LIABILITIES
   RICHMOND, VA 23219
                                             Email: On File
   UNITED STATES
   MASSACHUSETTS MEDICAID (MASS
   HEALTH)                                   Attn: David Seltz
                                                                                                            CUSTOMER
17 2 COPLEY PLACE, SUITE 600                 Title: Executive Director                                                                                                                       $5,330,893
                                                                                                            LIABILITIES
   BOSTON, MA 02116                          Phone: On File
   UNITED STATES

     THE KROGER COMPANY                      Attn: Rodney McMullen
     1014 VINE STREET                        Title: Chief Executive Officer                                 CUSTOMER
18                                                                                                                                                                                           $4,717,151
     CINCINNATI, OH 45202-1100               Phone: On File                                                 LIABILITIES
     UNITED STATES                           Fax: 513-762-1575

     FRESNO UNIFIED SCHOOL DISTRICT          Attn: Bob Nelson Ed.D.
     2309 TULARE STREET                      Title: Superintendent                                          CUSTOMER
19                                                                                                                                                                                           $4,634,494
     FRESNO, CA 93721                        Phone: On File                                                 LIABILITIES
     UNITED STATES                           Email: On File

     WALMART STORES BANK OF AMERICA          Attn: Doug McMillon
     702 SW 8TH ST.                          Title: Chief Executive Officer                                 CUSTOMER
20                                                                                                                                                                                           $4,501,584
     BENTONVILLE, AR 72716                   Phone: On File                                                 LIABILITIES
     UNITED STATES                           Email: On File

   AMWINS
   4725 PIEDMONT ROW DRIVE                   Attn: James Drinkwater
                                                                                                            CUSTOMER
21 SUITE 600                                 Title: President                                                                                                                                $4,442,959
                                                                                                            LIABILITIES
   CHARLOTTE, NC 28210                       Phone: On File
   UNITED STATES
   TAKECARE INSURANCE
                                             Attn: Joseph Husslein
   219 S MARINE CORPS DRIVE
                                             Title: President                                               CUSTOMER
22 SUITE 200                                                                                                                                                                                 $4,418,756
                                             Phone: On File                                                 LIABILITIES
   TAMUNING, 96913
                                             Fax: 671-647-3551
   GUAM

     THE CITY OF MURFREESBORO                Attn: Tara MacDougall
     111 WEST VINE STREET                    Title: Chief Executive Officer                                 CUSTOMER
23                                                                                                                                                                                           $4,264,934
     MURFREESBORO, TN 37130                  Phone: On File                                                 LIABILITIES
     UNITED STATES                           Fax: 615-849-2679

   SPECIAL CARE PHARMACY SERVICES
                                             Attn: José Rojas
   LLC
                                             Title: Chief Executive Officer                                 CUSTOMER
24 55 ARZUAGA STREET                                                                                                                                                                         $4,149,867
                                             Phone: On File                                                 LIABILITIES
   SAN JUAN, 00925
                                             Fax: 787-783-2951
   PUERTO RICO

     FGX INTERNATIONAL                       Attn: Diana Pooles
     500 GEORGE WASHINGTON HIGHWAY           Title: President                                                 TRADE
25                                                                                                                                                                                           $3,996,144
     SMITHFIELD, RI 02917                    Phone: On File                                                 PAYABLES
     UNITED STATES                           Fax: 401-232-7235

   VALLEY HEALTH SYSTEM
   220 CAMPUS BLVD.                          Attn: Mark Nantz, MHA
                                                                                                            CUSTOMER
26 SUITE 420                                 Title: Chief Executive Officer                                                                                                                  $3,993,984
                                                                                                            LIABILITIES
   WINCHESTER, VA 22601                      Phone: On File
   UNITED STATES
   VAXSERVE INC
   54 GLENMAURA NATIONAL BLVD STE            Attn: Wayne Pisano
                                                                                                              TRADE
27 301                                       Title: Chief Executive Officer                                                                                                                  $3,902,246
                                                                                                            PAYABLES
   MOOSIC, PA 18507-2101                     Phone: On File
   UNITED STATES




                                                                                                2 of 4
       Case 23-18993-MBK                            Doc 1             Filed 10/15/23 Entered 10/15/23 21:45:24                                                                 Desc Main
                                                                     Document     Page 12 of 51

     Name of creditor and complete mailing   Name, telephone number, and email address of            Nature of the claim Indicate if claim is   Amount of unsecured claim
     address, including zip code             creditor contact                                        (for example, trade contingent,            If the claim is fully unsecured, fill in only unsecured
                                                                                                     debts, bank loans,  unliquidated, or       claim amount. If claim is partially secured, fill in total
                                                                                                     professional        disputed               claim amount and deduction for value of collateral or
                                                                                                     services, and                              setoff to calculate unsecured claim.
                                                                                                     government                                 Total claim, if     Deduction     Unsecured claim
                                                                                                     contracts)                                 partially           for value of
                                                                                                                                                secured             collateral or
                                                                                                                                                                    setoff

     DEACONESS HEALTH SYSTEM
                                             Attn: Shawn McCoy
     600 MARY ST.                                                                                       CUSTOMER
28                                           Title: Chief Executive Officer                                                                                                              $3,819,536
     EVANSVILLE, IN 47747                                                                               LIABILITIES
                                             Phone: On File
     UNITED STATES

   JOHNSON COUNTY, KANSAS
   COUNTY ADMINISTRATION BUILDING            Attn: Amy Meeker-Berg
                                                                                                        CUSTOMER
29 111 S. CHERRY ST.                         Title: County Clerk                                                                                                                         $3,775,052
                                                                                                        LIABILITIES
   OLATHE, KS 66061                          Phone: On File
   UNITED STATES

     PROVIDER PAY
                                             Attn: Brian S. Tyler
     6555 STATE HWY 161                                                                                 CUSTOMER
30                                           Title: Chief Executive Officer                                                                                                              $3,191,301
     IRVING, TX 75039                                                                                   LIABILITIES
                                             Phone: On File
     UNITED STATES

     CVS PROCARE PHARMACY INC                Attn: Prem Shah
     ONE CVS DRIVE                           Title: Executive Vice President                            CUSTOMER
31                                                                                                                                                                                       $3,144,990
     WOONSOCKET, RI 02895                    Phone: On File                                             LIABILITIES
     UNITED STATES                           Fax: 212-645-1429

     HUDSON RPM DIST LLC
                                             Attn: John Geoghan
     8 COTTON RD                                                                                          TRADE
32                                           Title: Vice President                                                                                                                       $3,084,084
     NASHUA, NH 03063                                                                                   PAYABLES
                                             Phone: On File
     UNITED STATES

     CITY OF WICHITA                         Attn: Robert Layton
     455 N. MAIN                             Title: City Manager                                        CUSTOMER
33                                                                                                                                                                                       $3,052,678
     WICHITA, KS 67202                       Phone: On File                                             LIABILITIES
     UNITED STATES                           Email: On File

                                             Attn: Paul Jardina
     ONCO360
                                             Title: Chief Executive Officer
     13410 EASTPOINT CENTRE DRIVE                                                                       CUSTOMER
34                                           Phone: On File                                                                                                                              $2,916,541
     LOUISVILLE, KY 40223                                                                               LIABILITIES
                                             Email: On File
     UNITED STATES
                                             Fax: 877-662-6355

     GALLAGHER PHARMACY ALLIANCE
                                             Attn: Laura Mendise
     2850 GOLF ROAD                                                                                     CUSTOMER
35                                           Title: Area Vice President                                                                                                                  $2,834,494
     ROLLING MEADOWS, IL 60008                                                                          LIABILITIES
                                             Phone: On File
     UNITED STATES

   OHIO LABORERS DISTRICT COUNCIL OF         Attn: Ralph E. Cole
   OHIO                                      Title: Board Chairman
                                                                                                        CUSTOMER
36 800 HILLSDOWNE ROAD                       Phone: On File                                                                                                                              $2,784,889
                                                                                                        LIABILITIES
   WESTERVILLE, OH 43081                     Email: On File
   UNITED STATES                             Fax: 614-895-8082
   WEST VIRGINIA SENIOR ADVANTAGE
   STONERISE SERVICES, LLC                   Attn: Tomi McMillian
                                                                                                        CUSTOMER
37 30 MON HEALTH DRIVE, BLDG 2               Title: Executive Director                                                                                                                   $2,770,513
                                                                                                        LIABILITIES
   MORGANTOWN, WV 26505                      Fax: 888-918-2992
   UNITED STATES

     SOUTHERN GLAZER'S CA/COASTAL
                                             Attn: Wayne Chaplin
     2400 SW 145TH AVENUE, SUITE 200                                                                      TRADE
38                                           Title: Chief Executive Officer                                                                                                              $2,730,041
     MIRAMAR, FL 33027                                                                                  PAYABLES
                                             Phone: On File
     UNITED STATES

   FORVIS, LLP
   1155 AVENUE OF THE AMERICAS               Attn: Megan Adams
                                                                                                        CUSTOMER
39 SUITE 1200                                Title: Managing Director                                                                                                                    $2,662,144
                                                                                                        LIABILITIES
   NEW YORK, NY 10036-2711                   Phone: On File
   UNITED STATES
                                             Attn: Rick Melin
   GMS BENEFITS
                                             Title: Senior Vice President
   3750 TIMBERLAKE DR.                                                                                  CUSTOMER
40                                           Phone: On File                                                                                                                              $2,620,676
   RICHFIELD, OH 44286                                                                                  LIABILITIES
                                             Email: On File
   UNITED STATES
                                             Fax: 306-525-6360

     ACCREDO HEALTH GROUP INC
                                             Attn: Timothy Wentworth
     1640 CENTURY CENTER PARKWAY                                                                        CUSTOMER
41                                           Title: Chief Executive Officer                                                                                                              $2,481,314
     MEMPHIS, TN 38134                                                                                  LIABILITIES
                                             Phone: On File
     UNITED STATES

   NORTHWEST IRONWORKERS
   7525 SE 24TH STREET                       Attn: Teri Robinson
                                                                                                        CUSTOMER
42 SUITE 200                                 Title: Chief Executive Officer                                                                                                              $2,444,090
                                                                                                        LIABILITIES
   MERCER ISLAND, WA 98040                   Phone: On File
   UNITED STATES




                                                                                            3 of 4
       Case 23-18993-MBK                            Doc 1              Filed 10/15/23 Entered 10/15/23 21:45:24                                                                Desc Main
                                                                      Document     Page 13 of 51

     Name of creditor and complete mailing   Name, telephone number, and email address of            Nature of the claim Indicate if claim is   Amount of unsecured claim
     address, including zip code             creditor contact                                        (for example, trade contingent,            If the claim is fully unsecured, fill in only unsecured
                                                                                                     debts, bank loans,  unliquidated, or       claim amount. If claim is partially secured, fill in total
                                                                                                     professional        disputed               claim amount and deduction for value of collateral or
                                                                                                     services, and                              setoff to calculate unsecured claim.
                                                                                                     government                                 Total claim, if     Deduction     Unsecured claim
                                                                                                     contracts)                                 partially           for value of
                                                                                                                                                secured             collateral or
                                                                                                                                                                    setoff

     FRITO-LAY, INC
                                             Attn: Steven Williams
     7701 LEGACY DRIVE                                                                                    TRADE
43                                           Title: Chief Executive Officer                                                                                                              $2,408,923
     PLANO, TX 75024-4099                                                                               PAYABLES
                                             Phone: On File
     UNITED STATES

     VONS COMPANIES INC                      Attn: Jeannie Arell
     618 MICHILLINDA AVE.                    Title: Chief Executive Officer                             CUSTOMER
44                                                                                                                                                                                       $2,270,436
     ARCADIA, CA 91007-6300                  Phone: On File                                             LIABILITIES
     UNITED STATES                           Email: On File

     PEPSI-COLA
                                             Attn: Ramon Laguarta
     700 ANDERSON HILL RD                                                                                 TRADE
45                                           Title: Chief Executive Officer                                                                                                              $2,202,582
     PURCHASE, NY 10577                                                                                 PAYABLES
                                             Phone: On File
     UNITED STATES

     WENTWORTH DOUGLAS HOSPITAL
                                             Attn: Jeff Hughes
     789 CENTRAL AVENUE                                                                                 CUSTOMER
46                                           Title: President                                                                                                                            $2,185,395
     DOVER, NH 03820                                                                                    LIABILITIES
                                             Phone: On File
     UNITED STATES

     LINDT
                                             Attn: Adalbert Lechner
     ONE FINE CHOCOLATE PLACE                                                                             TRADE
47                                           Title: Chief Executive Officer                                                                                                              $2,181,793
     STRATHAM, NH 03885                                                                                 PAYABLES
                                             Phone: On File
     UNITED STATES

     NORTHWEST SHEET METAL WORKERS           Attn: Bernie Antchak
     1322 N POST PLACE                       Title: Chief Executive                                     CUSTOMER
48                                                                                                                                                                                       $2,076,639
     SPOKANE, WA 99201                       Phone: On File                                             LIABILITIES
     UNITED STATES                           Fax: 509-535-7883


   CARE N CARE
   1701 RIVER RUN                            Attn: Thomas G. Wilson
                                                                                                        CUSTOMER
49 SUITE 402                                 Title: Vice President                                                                                                                       $2,064,991
                                                                                                        LIABILITIES
   FORT WORTH, TX 76101                      Phone: On File
   UNITED STATES

   HARRIS TRUST AND SAVINGS BANK
   C/O HARRIS TRUST COMPANY OF NEW                                                                    6.875% FIXED-
                                             Attn: M.A. Brown
   YORK                                                                                               RATE SENIOR
50                                           Title: President                                                                                                                            $2,046,000
   88 PINE STREET, 19TH FLOOR                                                                          NOTES DUE
                                             Phone: On File
   NEW YORK, NY 10005                                                                                DECEMBER 2028
   UNITED STATES




                                                                                            4 of 4
     Case 23-18993-MBK                     Doc 1        Filed 10/15/23 Entered 10/15/23 21:45:24                                Desc Main
                                                       Document     Page 14 of 51


    Fill in this information to identify the case and this filing:

   Debtor Name          Rite Aid Corporation

   United States Bankruptcy Court for the:                District of New Jersey
                                                                                                    (State)
   Case number (If known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration List of Equity Security Holders, Corporate Ownership Statement,
            and Certification of Creditor Matrix
    I declare under penalty of perjury that the foregoing is true and correct.


     Executed on                       10/15/2023                                   /s/ Jeffrey S. Stein
                                       MM/ DD/YYYY                                 Signature of individual signing on behalf of debtor
                                                                                   Jeffrey S. Stein
                                                                                   Printed name
                                                                                   Chief Executive Officer and Chief Restructuring Officer
                                                                                   Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
Case 23-18993-MBK        Doc 1    Filed 10/15/23 Entered 10/15/23 21:45:24           Desc Main
                                 Document     Page 15 of 51


                     OMNIBUS WRITTEN CONSENT
             OF THE BOARD OF DIRECTORS, MANAGERS, OR
    SIMILAR GOVERNING BODY OR ENTITY, AS APPLICABLE, OF EACH OF
       THE COMPANIES SET FORTH ON EXHIBIT A ATTACHED HERETO

                                       October 15, 2023

          We, the undersigned, are the requisite members of the board of directors, managers, or
 similar governing body or the sole member or sole managing member (each, an “Authorizing
 Body” and, collectively, the “Authorizing Bodies”), as applicable, of each of the companies
 set forth on Exhibit A attached hereto (each, a “Company” and collectively,
 the “Companies”), and each organized and existing under the internal laws of the state of
 incorporation or formation, as applicable, as set forth in each Company’s applicable
 governing documents. Each Authorizing Body hereby takes the following actions and adopts
 the following resolutions by written consent, pursuant to each Company’s bylaws, limited
 liability company agreement, or such similar governing document and the applicable laws of
 the jurisdiction of incorporation or formation, as applicable, in which each Company is
 organized.

                                       RESOLUTIONS

         WHEREAS, following extensive, good-faith, arm’s length negotiations,
 the Companies have reached an agreement in principle with certain of their major
 stakeholders on the terms of a comprehensive restructuring transaction as set forth in the
 restructuring support agreement (the “Restructuring Support Agreement”) and the
 restructuring term sheet (the “Restructuring Term Sheet”) provided to each Authorizing
 Body in advance of the meeting, which documents, among other things, the support of those
 stakeholders with respect to the implementation of a plan of reorganization (the “Plan”) under
 chapter 11 of the Bankruptcy Code (as defined below) that is consistent in all material
 respects with the Restructuring Term Sheet;

         WHEREAS, each Authorizing Body, has reviewed and considered: (i) the certain
 governance matters described below in greater detail; (ii) the filing of a voluntary petition
 (each, a “Bankruptcy Petition,” and collectively, the “Bankruptcy Petitions”) for relief for
 its respective Company under the provisions of chapter 11 of title 11 of the United States
 Code, 11 U.S.C. § 101 et seq. (as amended, the “Bankruptcy Code”) in the United States
 Bankruptcy Court for the District of New Jersey (the “Bankruptcy Court”) pursuant to
 applicable law and in accordance with the requirements of its respective Company’s
 governing documents and applicable law (the “Restructuring Matters”); (iii) authorizing
 entry into and performance under the DIP Facility Documents (as defined herein) and the
 Restructuring Support Agreement (as defined herein); and (iv) the retention of professionals
 by the Companies; and

        WHEREAS, each Authorizing Body has reviewed and considered the materials
 presented by its respective Company’s financial and legal advisors, the Plan contemplated by
 the Restructuring Term Sheet and Restructuring Support Agreement, and any disclosure
 statement relating to such Plan (as amended, supplemented, or otherwise modified from time
 to time, the “Disclosure Statement”), and has had adequate opportunity to consult such
 persons regarding the materials presented, obtain additional information, and fully consider
 each of the strategic alternatives available to its respective Company.



                                               1
Case 23-18993-MBK        Doc 1    Filed 10/15/23 Entered 10/15/23 21:45:24           Desc Main
                                 Document     Page 16 of 51


         NOW, THEREFORE, IT IS HEREBY RESOLVED, that, pursuant to the
 applicable governing documents of the Companies, each Authorizing Body does hereby
 adopt, on behalf of the Company of which it is the Authorizing Body, the following
 resolutions, as applicable:

 Governance Matters

         RESOLVED, that Jeffrey Stein is hereby appointed to serve as (i) Chief Executive
 Officer and Chief Restructuring Officer of the Companies and (ii) a director on the board of
 directors of Rite Aid Corporation (the “Parent Board”); and

        RESOLVED, that Marc Liebman                  is   hereby   appointed    to   serve   as
 Chief Transformation Officer of the Companies.

 Chapter 11 Filing

         RESOLVED, that in the business judgment of each Authorizing Body, it is desirable
 and in the best interest of each respective Company, the stakeholders, the creditors, and other
 parties in interest, that each Company files or causes to be filed the Bankruptcy Petitions
 under the provisions of chapter 11 of the Bankruptcy Code in the Bankruptcy Court, and any
 other petition for relief or recognition or other order that may be desirable under applicable
 law in the United States, and, in accordance with the requirements in each Company’s
 governing documents and applicable law, hereby consents to, authorizes and approves, the
 filing of the Bankruptcy Petitions;

         RESOLVED, that any director, manager or duly appointed officer of any Company
 (collectively, the “Authorized Persons”), which shall include, but not be limited to, the Chief
 Transformation Officer, Chief Executive Officer, Chief Restructuring Officer, Chief Financial
 Officer, General Counsel, any Executive Vice President, or any Senior Vice President, shall
 be, and each of them individually hereby is, authorized and directed for and on behalf of the
 applicable Company to take all actions (including, without limitation, to negotiate and execute
 any documents, certificates, supplemental agreements, and instruments) to act as signatory
 and attorney on behalf of the applicable Company in respect of the Restructuring Matters
 and/or any persons to whom such Authorized Persons delegate certain responsibilities, be, and
 hereby are, authorized to execute and file on behalf of the applicable Company all petitions,
 schedules, lists, and other motions, papers, or documents, and to take any and all action that
 they deem necessary or proper to obtain such relief, including, but not limited to, any action
 necessary or proper to maintain the ordinary course operations of the applicable Company’s or
 any of its subsidiaries’ businesses;

 Retention of Professionals

         RESOLVED, that each of the Authorized Persons, be, and hereby is, authorized,
 empowered, and directed to employ on behalf of each applicable Company: (i) the law firm
 of Kirkland & Ellis LLP and Kirkland & Ellis International LLP (together, “Kirkland”) as
 bankruptcy counsel; (ii) the law firm of Cole Schotz P.C. as local bankruptcy counsel;
 (iii) Guggenheim Partners as investment banker; (iv) Alvarez & Marsal North America, LLC
 as financial, tax, and restructuring advisor; (v) Kroll Restructuring Administration as claims
 and noticing agent; (vi) Wilson Sonsini Goodrich & Rosati P.C. as counsel to the Parent
 Board; (vii) Katten Muchin Rosenman, LLP, as counsel to the disinterested directors of
 Hunter Lane, LLC; (viii) Milbank LLP as counsel to the disinterested directors of Thrifty


                                               2
Case 23-18993-MBK        Doc 1    Filed 10/15/23 Entered 10/15/23 21:45:24          Desc Main
                                 Document     Page 17 of 51


 PayLess, Inc.; (ix) Kobre & Kim as counsel to the disinterested directors of Rite Aid
 Corporation; and (x) any other legal counsel, accountants, financial advisors, restructuring
 advisors or other professionals the Authorized Persons deem necessary, appropriate or
 advisable; each to represent and assist the Companies in carrying out their duties and
 responsibilities and exercising their rights under the Bankruptcy Code and any applicable law
 (including, but not limited to, the law firms filing any pleadings or responses); and in
 connection therewith, the Authorized Persons, be, and hereby are authorized, empowered and
 directed, in accordance with the terms and conditions hereof, to execute appropriate retention
 agreements, pay appropriate retainers, and to cause to be filed appropriate applications for
 authority to retain such services;

        RESOLVED, that each of the Authorized Persons, be, and hereby is, authorized,
 empowered and directed to execute and file all petitions, schedules, motions, lists,
 applications, pleadings, and other papers, and to perform such further actions and execute
 such further documentation that the Authorized Persons in their absolute discretion deem
 necessary, appropriate or desirable in accordance with these resolutions;

 Restructuring Support Agreement, Chapter 11 Plan, and Disclosure Statement

       RESOLVED, that the Companies are hereby authorized to finalize, execute, and deliver
 the Restructuring Support Agreement, substantially on the terms set forth in the Restructuring
 Term Sheet and Restructuring Support Agreement provided to each Authorizing Body in
 advance of the meeting, subject to appropriate modifications and final negotiations, and each
 of the Authorized Persons be, and hereby is, authorized, empowered, and directed in the name
 of, and on behalf of, the Companies to execute, deliver, and perform the transactions
 contemplated under the Restructuring Support Agreement in the name and on behalf of each
 Company, with such changes, additions, and modifications thereto as such Authorized Person
 shall approve, with such approval to be conclusively evidenced by such Authorized Person’s
 execution and delivery thereof;

        RESOLVED, that the form, terms, and provisions of the Restructuring Support
 Agreement and the agreements and transactions contemplated by the Restructuring Support
 Agreement are hereby authorized, adopted, and approved by the special committee of the
 Parent Board (the “Parent Special Committee”);

        RESOLVED, that the Authorized Persons’ execution and delivery on behalf of the
 Companies, and the Companies’ performance of their obligations in connection with, the
 Restructuring Support Agreement or any other transactions or actions contemplated therein
 and in the foregoing resolutions are hereby, in each case, in all respects, authorized, and
 approved;

        RESOLVED, that in the business judgment of each Authorizing Body, it is desirable
 and in the best interests of each Company, its creditors, and other stakeholders that the
 Authorized Persons file or cause to be filed the Plan, the Disclosure Statement, and all other
 papers or documents related thereto, and to take any and all actions that each Authorizing
 Body deems necessary or appropriate to pursue confirmation and consummation of a plan of
 reorganization materially consistent with the Plan;

       RESOLVED, that the form, terms, and provisions of the Plan and Disclosure
 Statement are hereby approved by the Parent Special Committee;



                                               3
Case 23-18993-MBK         Doc 1    Filed 10/15/23 Entered 10/15/23 21:45:24             Desc Main
                                  Document     Page 18 of 51




        RESOLVED, that each Authorized Person be, and hereby is, authorized, empowered,
 and directed, together with the financial and legal advisors of the Companies, to file all other
 documents as each, in his or her discretion, may deem necessary or advisable to confirm a
 chapter 11 plan of reorganization that is materially consistent with the Plan; and

         RESOLVED, that each Authorized Person be, and hereby is, authorized, empowered,
 and directed to take or cause to be taken any and all such other and further action, and to
 execute, acknowledge, deliver, and file any and all such instruments as each, in his or her
 discretion, may deem necessary or advisable in order to consummate a chapter 11 plan of
 reorganization that is materially consistent with the Plan if confirmed by the Bankruptcy
 Court;

 Use of Cash Collateral, Debtor-In-Possession Financing, and Adequate Protection

         RESOLVED, that in the business judgment of the applicable Authorizing Bodies, it is
 desirable and in the best interest of the respective Companies, their stakeholders, their
 creditors, and other parties in interest to obtain the benefits of (i) the use of cash collateral,
 as such term is defined in section 363(a) of the Bankruptcy Code (“Cash Collateral”),
 which is security for (a) certain of the Companies’ prepetition asset-based lenders
 (the “Prepetition ABL/FILO Lenders”) under that certain Credit Agreement, dated as of
 December 20, 2018, as amended, restated, amended and restated, supplemented, or otherwise
 modified from time to time, by and among Rite Aid Corporation, as borrower, the lenders
 from time to time party thereto, the guarantors party thereto, and Bank of America, N.A., as
 administrative agent and collateral agent and (b) certain holders of the Company’s prepetition
 secured notes (the “Prepetition Secured Noteholders”) pursuant to those certain Secured
 Note Agreements, dated as of February 5, 2020 and July 27, 2020, respectively, as amended,
 restated, amended and restated, supplemented, or otherwise modified from time to time, by
 and among Rite Aid Corporation, as issuer, the guarantors party thereto, and the Bank of New
 York Mellon Trust Company, N.A, as trustee and as notes collateral agent; and (ii) the
 incurrence of debtor-in-possession financing obligations (“DIP Financing”) by entering into
 or otherwise joining (a) that certain Debtor-In-Possession Credit Agreement (together with all
 exhibits, schedules, and annexes thereto, as amended, restated, amended and restated,
 supplemented, or otherwise modified from time to time, the “ABL/FILO DIP Credit
 Agreement”) by and among Rite Aid Corporation, as borrower, the other Companies, as
 guarantor parties thereto, the financial institutions from time to time party thereto and their
 successors and assigns (collectively the “ABL/FILO DIP Lenders”), and Bank of America,
 N.A., in its capacity as administrative agent and collateral agent (in such capacity and together
 with any successor or assigns, the “ABL/FILO DIP Agent”) on the terms and conditions set
 forth therein; and (b) that certain Debtor-In-Possession Term Loan Agreement (together with
 all exhibits, schedules, and annexes thereto, as amended, restated, amended and restated,
 supplemented, or otherwise modified from time to time, the “DIP Term Loan Credit
 Agreement,” and together with the ABL/FILO DIP Credit Agreement, the “DIP Credit
 Agreements”) by and among Rite Aid Corporation, as borrower, the other Companies, as
 guarantor parties thereto, the financial institutions from time to time party thereto and their
 successors and assigns (collectively, the “DIP Term Loan Lenders”), and Bank of America,
 N.A., in its capacity as administrative agent and collateral agent (in such capacity and together
 with any successor or assigns, the “DIP Term Loan Agent,” and together with the
 ABL/FILO DIP Agent, the “DIP Agents”) on the terms and conditions set forth therein;




                                                 4
Case 23-18993-MBK         Doc 1    Filed 10/15/23 Entered 10/15/23 21:45:24               Desc Main
                                  Document     Page 19 of 51


        RESOLVED, that in order to use and obtain the benefits of DIP Financing and Cash
 Collateral, and in accordance with section 363 of the Bankruptcy Code, each Company will
 provide certain adequate protection to the Prepetition ABL/FILO Lenders, the Prepetition
 Secured Noteholders, and other prepetition secured parties (collectively, the “Prepetition
 Secured Parties” and such obligations, the “Adequate Protection Obligations”) as
 documented in proposed interim and final orders (collectively, the “Financing Orders”) to be
 submitted for approval of the Bankruptcy Court, and, to the extent that any Company is
 required to obtain consent from the Prepetition Secured Parties to enter into or otherwise join
 any of the DIP Facility Documents (as defined herein), such consent has been (or will be)
 obtained from the Prepetition Secured Lenders;

         RESOLVED, that in the business judgment of the applicable Authorizing Bodies, the
 form, terms, and provisions of the DIP Credit Agreements and such other agreements,
 certificates, instruments, receipts, petitions, motions, or other papers or documents
 required to consummate the transactions considered by the Financing Orders
 (collectively, the “DIP Facility Documents”), substantially in the forms circulated to the
 Authorizing Bodies, and each Company’s execution, delivery and performance of its
 obligations under the DIP Facility Documents, including without limitation the grant of
 security interests under the DIP Facility Documents, and any borrowings or guaranty
 therewith, be, and hereby are, in all respects, authorized and approved;

       RESOLVED, that each Company will obtain benefits from the incurrence of the
 borrowings under the DIP Credit Agreements and the other obligations under the DIP Credit
 Agreements and the other Senior Debt Documents or Loan Documents (as defined in the
 applicable DIP Facility Documents) which are necessary and convenient to the conduct,
 promotion, and attainment of the business of such Company;

        RESOLVED, that each Company shall be, and is hereby, authorized to enter into or
 otherwise join the DIP Facility Documents and incur the obligations thereunder
 (the “DIP Obligations”), including the borrowing of the loans under the DIP Credit
 Agreements, and other obligations related to the DIP Financing and to undertake any and all
 related transactions on substantially the same terms as contemplated under the DIP Facility
 Documents, including granting liens on and security interests in its assets, including the
 Collateral (as defined in the applicable DIP Facility Documents), to the DIP Agents, and each
 of the Authorized Persons be, and hereby is, authorized, empowered, and directed in the name
 of, and on behalf of, the applicable Company to negotiate, execute, deliver, and perform the
 DIP Facility Documents, and all agreements, certificates, documents, notices and instruments,
 security agreements, control agreements, intercreditor agreements and similar agreements and
 arrangements, financing statements (which may include supergeneric descriptions of collateral
 such as “all assets” or “all personal property”), intellectual property filings, fee letters and any
 reaffirmations, ratifications, amendments, extensions, waivers, joinder agreements,
 supplements or any other modifications to any of the foregoing in connection with the DIP
 Facility Documents, and take any and all actions to perform all of the obligations and the
 transactions contemplated under each of the DIP Facility Documents in the name and on
 behalf of the applicable Company, including the payment of all fees and expenses in
 connection therewith, with all such changes, additions, and modifications thereto as such
 Authorized Person shall approve, with such approval to be conclusively evidenced by such
 Authorized Person’s execution and delivery thereof;

      RESOLVED, that each of the Authorized Persons be, and hereby is, authorized, in the
 name and on behalf of the applicable Company, to take all such further actions, or cause all


                                                  5
Case 23-18993-MBK        Doc 1    Filed 10/15/23 Entered 10/15/23 21:45:24           Desc Main
                                 Document     Page 20 of 51


 such further actions to be taken and to execute and deliver all such further agreements,
 documents, instruments, certificates, recordings, and filings, in the name and on behalf of the
 applicable Company, as in the determination of such Authorized Person shall be necessary,
 proper, or advisable in order to fully carry out the intent and accomplish the purposes of the
 foregoing resolutions and to consummate the transactions contemplated thereby, such
 authority to be conclusively evidenced by the execution of any document or the taking of any
 such action by such Authorized Person;

        RESOLVED, that each of the Authorized Persons be, and hereby is, authorized, in the
 name and on behalf of the applicable Company, to enter into or otherwise join any guarantees
 as described or contemplated by the DIP Facility Documents or any other documents,
 certificates, instruments, agreements, intercreditor agreements, any extension amendment, any
 incremental agreement, or any other amendment required to consummate the transactions
 contemplated by the DIP Facility Documents and perform its obligations thereunder and to
 guarantee the payment and performance of the DIP Obligations of the applicable Companies
 and any other guarantor thereunder;

       RESOLVED, that each of the Authorized Persons be, and hereby is, authorized,
 empowered, and directed in the name of, and on behalf of, the applicable Company to seek
 authorization to incur the DIP Obligations and approval to use Cash Collateral pursuant to the
 Financing Orders, and any Authorized Person be, and hereby is, authorized, empowered, and
 directed to negotiate, execute, and deliver any and all agreements, instruments, or documents,
 by or on behalf of the applicable Company, necessary to implement the postpetition financing,
 including the Adequate Protection Obligations to the Prepetition Secured Parties in
 accordance with section 363 of the Bankruptcy Code, as well as any additional or further
 agreements for entry into the DIP Facility Documents and the use of Cash Collateral in
 connection with the chapter 11 cases, which agreements may require the applicable
 Companies to grant adequate protection and liens to the Prepetition Secured Parties and each
 other agreement, instrument, or document to be executed and delivered in connection
 therewith, by or on behalf of the applicable Companies pursuant thereto or in connection
 therewith, all with such changes therein and additions thereto as any Authorized Person
 approves, such approval to be conclusively evidenced by the taking of such action or by the
 execution and delivery thereof;

        RESOLVED, that each of the Authorized Persons be, and hereby is, authorized,
 directed, and empowered, in the name of, and on behalf of, the applicable Company to take
 such actions and negotiate or cause to be prepared and negotiated and to execute, deliver,
 perform, and cause the performance of, each of the transactions contemplated by the DIP
 Facility Documents and such other agreements, certificates, instruments, receipts, petitions,
 motions, or other papers or required documents to which each applicable Company is or will
 be party or any order entered into in connection with the chapter 11 case (together with the
 DIP Facility Documents and the Financing Orders, collectively, the “DIP Financing
 Documents”) and to incur and pay or cause to be paid all related fees and expenses, with such
 changes, additions and modifications thereto as an Authorized Person executing the same
 shall approve;

       RESOLVED, that the Companies, as debtors and debtors-in-possession under the
 Bankruptcy Code be, and hereby are, authorized, empowered, and directed to incur any and
 all obligations and to undertake any and all related transactions on substantially the same
 terms as contemplated under the DIP Financing Documents, including granting liens on its
 assets to secure such obligations;


                                               6
Case 23-18993-MBK        Doc 1    Filed 10/15/23 Entered 10/15/23 21:45:24           Desc Main
                                 Document     Page 21 of 51




      RESOLVED, that each of the Authorized Persons, be, and hereby is, authorized,
 empowered, and directed in the name of, and on behalf of, the applicable Company, to
 execute and deliver any amendments, supplements, modifications, renewals, replacements,
 consolidations, substitutions, and extensions of the postpetition financing or any of the DIP
 Financing Documents or to do such other things which shall in such Authorized Person’s sole
 business judgment be necessary, desirable, proper, or advisable in order to perform the DIP
 Obligations and to give effect to the foregoing resolutions, which determination shall be
 conclusively evidenced by such Authorized Person’s execution thereof;

 Further Actions and Prior Actions

         RESOLVED, that the Companies are hereby authorized to authorize (and each
 Company hereby authorizes) any direct or indirect subsidiary of each Company or any entity
 of which such Company or any subsidiary of such Company is the sole member, general
 partner, managing member, or equivalent manager, as applicable, to take each of the actions
 described in these resolutions or any of the actions authorized in these resolutions;

         RESOLVED, that in addition to the specific authorizations heretofore conferred upon
 the Authorized Persons, the Authorized Persons, either individually or as otherwise required
 by the applicable Company’s governing documents and applicable law, be, and each of them
 hereby is, authorized to execute, acknowledge, deliver, and file any and all agreements,
 certificates, instruments, powers of attorney, letters, forms, transfer, deeds and other
 documents on behalf of each applicable Company relating to the Restructuring Matters;

        RESOLVED, that each of the Authorized Persons (and their designees and delegates)
 be, and hereby is, authorized and empowered, in the name of and on behalf of the applicable
 Company, to take or cause to be taken any and all such other and further action, and to
 execute, acknowledge, deliver, and file any and all such agreements, certificates, instruments,
 and other documents and to pay all expenses, including but not limited to filing fees, in each
 case as in such Authorized Person’s or Authorized Persons’ absolute discretion, shall be
 necessary, appropriate, or desirable in order to fully carry out the intent and accomplish the
 purposes of the resolutions adopted herein;

         RESOLVED, that the Authorizing Bodies have received sufficient notice of the
 actions and transactions relating to the matters contemplated by the foregoing resolutions, as
 may be required by the governing documents of each Company, or hereby waives any right to
 have received such notice;

        RESOLVED, that all acts, actions, and transactions relating to the matters
 contemplated by the foregoing resolutions done in the name of and on behalf of each
 Company, which acts would have been approved by the foregoing resolutions except that such
 acts were taken before the adoption of these resolutions, are hereby in all respects approved,
 confirmed and ratified as the true acts and deeds of each Company with the same force and
 effect as if each such act, transaction, agreement, or certificate had been specifically
 authorized in advance by resolution of the applicable Authorizing Bodies; and

        RESOLVED, that any Authorized Person be, and each of them hereby is, authorized
 to do all such other acts, deeds and other things as each applicable Company itself may
 lawfully do, in accordance with its governing documents and applicable law, howsoever



                                               7
Case 23-18993-MBK         Doc 1    Filed 10/15/23 Entered 10/15/23 21:45:24             Desc Main
                                  Document     Page 22 of 51


 arising in connection with the matters above, or in furtherance of the intentions expressed in
 the foregoing resolutions, including, but not limited to, the negotiation, finalization, execution
 and delivery of any other agreements, certificates, instruments, powers of attorney, letters,
 forms, transfer, deeds and other documents whatsoever as the individual acting may in such
 Authorized Person’s absolute and unfettered discretion approve, deem or determine necessary,
 appropriate or advisable, such approval, deeming or determination to be conclusively
 evidenced by said individual taking such action or the execution thereof.


                                  *       *      *       *       *

                                      [Signature Page Follows]




                                                 8
DocuSign Envelope ID: 72659402-9FC2-47BC-B8DF-3D7B1ADA3E2E
            Case 23-18993-MBK            Doc 1    Filed 10/15/23 Entered 10/15/23 21:45:24                    Desc Main
                                                 Document     Page 23 of 51



                   IN WITNESS WHEREOF, the undersigned have executed this consent effective as of
            the time that each of the undersigned have executed this consent.


                                                                                                  RITE AID CORPORATION


                                                                     By: _____________________________________
                                                                     Name: Bruce G. Bodaken


                                                                     By: _____________________________________
                                                                     Name: Elizabeth Burr


                                                                     By: _____________________________________
                                                                     Name: Bari Harlam


                                                                     By: _____________________________________
                                                                     Name: Robert E. Knowling, Jr.


                                                                     By: _____________________________________
                                                                     Name: Paul Keglevic


                                                                     By: _____________________________________
                                                                     Name: Arun Nayar


                                                                     By: _____________________________________
                                                                     Name: Carrie Teffner


                                                                     By: _____________________________________
                                                                     Name: Kate B. Quinn




                                                 [Signature Page to Omnibus Filing Resolutions]
DocuSign Envelope ID: 7A596925-A8EE-496D-B46E-4FEC21520EC1
            Case 23-18993-MBK            Doc 1     Filed 10/15/23 Entered 10/15/23 21:45:24         Desc Main
                                                  Document     Page 24 of 51




                                                            1515 WEST STATE STREET, BOISE, IDAHO, LLC
                                                                                 1740 ASSOCIATES, L.L.C.
                                                         GETTYSBURG AND HOOVER-DAYTON, OHIO, LLC
                                                                          GRAND RIVER & FENKELL, LLC
                                                                  ILG – 90 B AVENUE LAKE OSWEGO, LLC
                                                                              MUNSON & ANDREWS, LLC
                                                                                       NAME RITE, L.L.C.
                                                                       PJC PETERBOROUGH REALTY LLC
                                                                                PJC REVERE REALTY LLC




                                                                     By: _____________________________________
                                                                     Name: Dana Baughman

                                                                     By: _____________________________________
                                                                     Name: Steven K. Bixler

                                                                     By: _____________________________________
                                                                     Name: Lisa Winnick

                                                                     By: _____________________________________
                                                                     Name: Susan C. Lowell




                                                 [Signature Page to Omnibus Filing Resolutions]
Case 23-18993-MBK   Doc 1    Filed 10/15/23 Entered 10/15/23 21:45:24                  Desc Main
                            Document     Page 25 of 51



                                                                 PJC MANCHESTER REALTY LLC

                                               By: PJC Special Realty Holdings, Inc.
                                               Its: Sole Member and Manager

                                               By: _____________________________________
                                               Name: Susan C. Lowell




                            [Signature Page to Omnibus Filing Resolutions]
DocuSign Envelope ID: 7A596925-A8EE-496D-B46E-4FEC21520EC1
            Case 23-18993-MBK            Doc 1     Filed 10/15/23 Entered 10/15/23 21:45:24                   Desc Main
                                                  Document     Page 26 of 51




                                                                                                  MAXI DRUG SOUTH, L.P.

                                                                     By: Maxi Drug, Inc.
                                                                     Its: General Partner

                                                                     By: _____________________________________
                                                                     Name: Susan C. Lowell




                                                 [Signature Page to Omnibus Filing Resolutions]
DocuSign Envelope ID: 7A596925-A8EE-496D-B46E-4FEC21520EC1
            Case 23-18993-MBK            Doc 1     Filed 10/15/23 Entered 10/15/23 21:45:24         Desc Main
                                                  Document     Page 27 of 51




                                                                                    ADVANCE BENEFITS, LLC
                                                                          ASCEND HEALTH TECHNOLOGY LLC
                                                                                   DESIGN RX HOLDINGS LLC
                                                                                             DESIGN RX, LLC
                                                                                    DESIGNRXCLUSIVES, LLC
                                                                                     ELIXIR PHARMACY, LLC
                                                                                     ELIXIR RX OPTIONS, LLC
                                                                       ELIXIR RX SOLUTIONS OF NEVADA, LLC
                                                                                  ELIXIR RX SOLUTIONS, LLC
                                                                                  ELIXIR RX SOLUTIONS, LLC
                                                                                        ELIXIR SAVINGS, LLC
                                                                     FIRST FLORIDA INSURERS OF TAMPA, LLC
                                                                                      LAKER SOFTWARE, LLC
                                                                                       RX INITIATIVES, L.L.C.
                                                                       TONIC PROCUREMENT SOLUTIONS, LLC

                                                                     By: Elixir Holdings, LLC
                                                                     Its: Managing Member

                                                                     By: _____________________________________
                                                                     Name: Christopher DuPaul




                                                 [Signature Page to Omnibus Filing Resolutions]
DocuSign Envelope ID: 7A596925-A8EE-496D-B46E-4FEC21520EC1
            Case 23-18993-MBK            Doc 1     Filed 10/15/23 Entered 10/15/23 21:45:24         Desc Main
                                                  Document     Page 28 of 51




                                                                                            JCG (PJC) USA, LLC
                                                                                    JCG HOLDINGS (USA), INC.
                                                                             RITE AID HDQTRS. FUNDING, INC.
                                                                                     RITE INVESTMENTS CORP.
                                                                       THE JEAN COUTU GROUP (PJC) USA, INC.

                                                                     By: _____________________________________
                                                                     Name: Jonathan D. Moll

                                                                     By: _____________________________________
                                                                     Name: Maria T. Hurd

                                                                     By: _____________________________________
                                                                     Name: Susan C. Lowell




                                                 [Signature Page to Omnibus Filing Resolutions]
DocuSign Envelope ID: 7A596925-A8EE-496D-B46E-4FEC21520EC1
            Case 23-18993-MBK            Doc 1     Filed 10/15/23 Entered 10/15/23 21:45:24                  Desc Main
                                                  Document     Page 29 of 51




                                                                                                  ELIXIR HOLDINGS, LLC

                                                                     By: Hunter Lane, LLC
                                                                     Its: Managing Member

                                                                     By: _____________________________________
                                                                     Name: Christopher DuPaul




                                                 [Signature Page to Omnibus Filing Resolutions]
DocuSign Envelope ID: 7A596925-A8EE-496D-B46E-4FEC21520EC1
            Case 23-18993-MBK            Doc 1     Filed 10/15/23 Entered 10/15/23 21:45:24                 Desc Main
                                                  Document     Page 30 of 51




                                                                                                      MAXI GREEN INC.
                                                                                            RITE AID OF VERMONT, INC.


                                                                     By: _____________________________________
                                                                     Name: Steven K. Bixler

                                                                     By: _____________________________________
                                                                     Name: Lisa Winnick

                                                                     By: _____________________________________
                                                                     Name: Susan C. Lowell




                                                 [Signature Page to Omnibus Filing Resolutions]
DocuSign Envelope ID: 7A596925-A8EE-496D-B46E-4FEC21520EC1
            Case 23-18993-MBK            Doc 1     Filed 10/15/23 Entered 10/15/23 21:45:24                      Desc Main
                                                  Document     Page 31 of 51




                                                                                                  ELIXIR PUERTO RICO, INC.



                                                                     By: _____________________________________
                                                                     Name: Rand Greenblatt

                                                                     By: _____________________________________
                                                                     Name: Christopher DuPaul




                                                 [Signature Page to Omnibus Filing Resolutions]
DocuSign Envelope ID: 7A596925-A8EE-496D-B46E-4FEC21520EC1
            Case 23-18993-MBK            Doc 1     Filed 10/15/23 Entered 10/15/23 21:45:24               Desc Main
                                                  Document     Page 32 of 51




                                                                                                  HUNTER LANE, LLC

                                                                     By: _____________________________________
                                                                     Name: Rand Greenblatt

                                                                     By: _____________________________________
                                                                     Name: Christopher DuPaul

                                                                     By: _____________________________________
                                                                     Name: Roger Meltzer

                                                                     By: _____________________________________
                                                                     Name: Stefan Selig




                                                 [Signature Page to Omnibus Filing Resolutions]
DocuSign Envelope ID: 7A596925-A8EE-496D-B46E-4FEC21520EC1
            Case 23-18993-MBK            Doc 1     Filed 10/15/23 Entered 10/15/23 21:45:24         Desc Main
                                                  Document     Page 33 of 51




                                                                                              RCMH LLC
                                                                  REDICLINIC OF DALLAS-FORT WORTH, LLC
                                                                                  REDICLINIC OF DC, LLC
                                                                                   REDICLINIC OF DE, LLC
                                                                                  REDICLINIC OF MD, LLC
                                                                                   REDICLINIC OF PA, LLC
                                                                                   REDICLINIC OF VA, LLC
                                                                                      REDICLINIC US, LLC

                                                                     By: RediClinic LLC
                                                                     Its: Sole Member

                                                                     By: _____________________________________
                                                                     Name: Alyssa Parrish




                                                 [Signature Page to Omnibus Filing Resolutions]
DocuSign Envelope ID: 7A596925-A8EE-496D-B46E-4FEC21520EC1
            Case 23-18993-MBK            Doc 1     Filed 10/15/23 Entered 10/15/23 21:45:24       Desc Main
                                                  Document     Page 34 of 51




                                   4042 WARRENSVILLE CENTER ROAD - WARRENSVILLE OHIO, INC.
                                                                           5277 ASSOCIATES, INC.
                                                               5600 SUPERIOR PROPERTIES, INC.
                                                                       APEX DRUG STORES, INC.
                                    BROADVIEW AND WALLINGS-BROADVIEW HEIGHTS OHIO, INC.
                                                                              DRUG PALACE, INC.
                                                                         ECKERD CORPORATION
                                                                         EDC DRUG STORES, INC.
                                                                                       GDF, INC.
                                                                 GENOVESE DRUG STORES, INC.
                                                                                     HARCO, INC.
                                                                K & B ALABAMA CORPORATION
                                                               K & B LOUISIANA CORPORATION
                                                               K & B MISSISSIPPI CORPORATION
                                                               K & B SERVICES, INCORPORATED
                                                               K & B TENNESSEE CORPORATION
                                                                      K&B TEXAS CORPORATION
                                                                           K & B, INCORPORATED
                                                   LAKEHURST AND BROADWAY CORPORATION
                                                                        MAXI DRUG NORTH, INC.
                                                                                 MAXI DRUG, INC.
                                                                       P.J.C. DISTRIBUTION, INC.
                                                                          P.J.C. REALTY CO., INC.
                                                                           PDS-1 MICHIGAN, INC.
                                                                      PERRY DRUG STORES, INC.
                                                                     PJC LEASE HOLDINGS, INC.
                                                                  PJC OF MASSACHUSETTS, INC.
                                                                    PJC OF RHODE ISLAND, INC.
                                                                            PJC REALTY MA, INC.
                                                          PJC SPECIAL REALTY HOLDINGS, INC.
                                                                               RDS DETROIT, INC.
                                                                                     READ’S, INC.
                                                                  RITE AID DRUG PALACE, INC.
                                                                        RITE AID HDQTRS. CORP.
                                                      RITE AID LEASE MANAGEMENT COMPANY
                                                               RITE AID OF CONNECTICUT, INC.
                                                                  RITE AID OF DELAWARE, INC.
                                                                     RITE AID OF GEORGIA, INC.
                                                                     RITE AID OF INDIANA, INC.
                                                                  RITE AID OF KENTUCKY, INC.
                                                                        RITE AID OF MAINE, INC.
                                                                  RITE AID OF MARYLAND, INC.
                                                                   RITE AID OF MICHIGAN, INC.
                                                            RITE AID OF NEW HAMPSHIRE, INC.
                                                                 RITE AID OF NEW JERSEY, INC.
                                                                   RITE AID OF NEW YORK, INC.
                                                           RITE AID OF NORTH CAROLINA, INC.


                                                 [Signature Page to Omnibus Filing Resolutions]
DocuSign Envelope ID: 7A596925-A8EE-496D-B46E-4FEC21520EC1
            Case 23-18993-MBK            Doc 1     Filed 10/15/23 Entered 10/15/23 21:45:24         Desc Main
                                                  Document     Page 35 of 51



                                                                                     RITE AID OF OHIO, INC.
                                                                        RITE AID OF SOUTH CAROLINA, INC.
                                                                              RITE AID OF TENNESSEE, INC.
                                                                                RITE AID OF VIRGINIA, INC.
                                                                       RITE AID OF WASHINGTON, D.C. INC.
                                                                          RITE AID OF WEST VIRGINIA, INC.
                                                                              RITE AID ONLINE STORE, INC.
                                                                    RITE AID PAYROLL MANAGEMENT, INC.
                                                                                    RITE AID REALTY CORP.
                                                                RITE AID ROME DISTRIBUTION CENTER, INC.
                                                                                 RITE AID TRANSPORT, INC.
                                                                                           RX CHOICE, INC.
                                                                                               RX USA, INC.
                                                                                THE LANE DRUG COMPANY
                                                                                         THRIFT DRUG, INC.
                                                                                   THRIFTY CORPORATION

                                                                     By: _____________________________________
                                                                     Name: Steven K. Bixler

                                                                     By: _____________________________________
                                                                     Name: Lisa Winnick

                                                                     By: _____________________________________
                                                                     Name: Dana Baughman




                                                 [Signature Page to Omnibus Filing Resolutions]
DocuSign Envelope ID: 7A596925-A8EE-496D-B46E-4FEC21520EC1
            Case 23-18993-MBK            Doc 1     Filed 10/15/23 Entered 10/15/23 21:45:24                   Desc Main
                                                  Document     Page 36 of 51




                                                                                                  THRIFTY PAYLESS, INC.


                                                                     By: _____________________________________
                                                                     Name: Dana Baughman



                                                                     By: _____________________________________
                                                                     Name: Steven K. Bixler



                                                                     By: _____________________________________
                                                                     Name: Lisa Broderick



                                                                     By: _____________________________________
                                                                     Name: Steven G. Panagos



                                                                     By: _____________________________________
                                                                     Name: Lisa Winnick




                                                 [Signature Page to Omnibus Filing Resolutions]
DocuSign Envelope ID: 7A596925-A8EE-496D-B46E-4FEC21520EC1
            Case 23-18993-MBK            Doc 1     Filed 10/15/23 Entered 10/15/23 21:45:24             Desc Main
                                                  Document     Page 37 of 51



                                                                                                  JUNIPER RX, LLC
                                                                                   RITE AID OF PENNSYLVANIA, LLC


                                                                     By: Rite Aid Hdqtrs. Corp.
                                                                     Its:Sole Member

                                                                     By: _____________________________________
                                                                     Name: Susan C. Lowell




                                                 [Signature Page to Omnibus Filing Resolutions]
DocuSign Envelope ID: 7A596925-A8EE-496D-B46E-4FEC21520EC1
            Case 23-18993-MBK            Doc 1     Filed 10/15/23 Entered 10/15/23 21:45:24         Desc Main
                                                  Document     Page 38 of 51




                                                                                          REDICLINIC, LLC
                                                                        RITE AID SPECIALTY PHARMACY, LLC

                                                                     By: Rite Aid Hdqtrs. Corp.
                                                                     Its: Member Manager

                                                                     By: _____________________________________
                                                                     Name: Susan C. Lowell




                                                 [Signature Page to Omnibus Filing Resolutions]
DocuSign Envelope ID: 7A596925-A8EE-496D-B46E-4FEC21520EC1
            Case 23-18993-MBK            Doc 1     Filed 10/15/23 Entered 10/15/23 21:45:24            Desc Main
                                                  Document     Page 39 of 51




                                                                                    RITE INVESTMENTS CORP., LLC

                                                                     By: Rite Investments Corp.
                                                                     Its: Member Manager

                                                                     By: _____________________________________
                                                                     Name: Jonathan D. Moll




                                                 [Signature Page to Omnibus Filing Resolutions]
DocuSign Envelope ID: 7A596925-A8EE-496D-B46E-4FEC21520EC1
            Case 23-18993-MBK            Doc 1     Filed 10/15/23 Entered 10/15/23 21:45:24                Desc Main
                                                  Document     Page 40 of 51




                                                                     LMW – 90B AVENUE LAKE OSWEGO, INC.
                                                                                         REDICLINIC ASSOCIATES, INC.

                                                                     By: _____________________________________
                                                                     Name: Dana Baughman

                                                                     By: _____________________________________
                                                                     Name: Steven K. Bixler

                                                                     By: _____________________________________
                                                                     Name: Lisa Winnick




                                                 [Signature Page to Omnibus Filing Resolutions]
DocuSign Envelope ID: 7A596925-A8EE-496D-B46E-4FEC21520EC1
            Case 23-18993-MBK            Doc 1     Filed 10/15/23 Entered 10/15/23 21:45:24         Desc Main
                                                  Document     Page 41 of 51



                                                                 RICHFIELD ROAD - FLINT, MICHIGAN, LLC

                                                                     By: _____________________________________
                                                                     Name: Dana Baughman

                                                                     By: _____________________________________
                                                                     Name: Steven K. Bixler

                                                                     By: _____________________________________
                                                                     Name: Lisa Winnick




                                                 [Signature Page to Omnibus Filing Resolutions]
DocuSign Envelope ID: 7A596925-A8EE-496D-B46E-4FEC21520EC1
            Case 23-18993-MBK            Doc 1     Filed 10/15/23 Entered 10/15/23 21:45:24            Desc Main
                                                  Document     Page 42 of 51




                                                                                       THE BARTELL DRUG COMPANY

                                                                     By: _____________________________________
                                                                     Name: Susan C. Lowell

                                                                     By: _____________________________________
                                                                     Name: Alyssa Parrish

                                                                     By: _____________________________________
                                                                     Name: Jermaine Smith




                                                 [Signature Page to Omnibus Filing Resolutions]
DocuSign Envelope ID: 7A596925-A8EE-496D-B46E-4FEC21520EC1
            Case 23-18993-MBK            Doc 1     Filed 10/15/23 Entered 10/15/23 21:45:24         Desc Main
                                                  Document     Page 43 of 51


                                                                     HEALTH DIALOG SERVICES CORPORATION

                                                                     By: _____________________________________
                                                                     Name: Susan C. Lowell

                                                                     By: _____________________________________
                                                                     Name: Lisa Winnick




                                                 [Signature Page to Omnibus Filing Resolutions]
DocuSign Envelope ID: 7A596925-A8EE-496D-B46E-4FEC21520EC1
            Case 23-18993-MBK            Doc 1     Filed 10/15/23 Entered 10/15/23 21:45:24                 Desc Main
                                                  Document     Page 44 of 51




                                                                                                  PJC OF VERMONT INC.

                                                                     By: _____________________________________
                                                                     Name: Steven K. Bixler

                                                                     By: _____________________________________
                                                                     Name: Lisa Winnick

                                                                     By: _____________________________________
                                                                     Name: Susan C. Lowell




                                                 [Signature Page to Omnibus Filing Resolutions]
                    Case 23-18993-MBK       Doc 1    Filed 10/15/23 Entered 10/15/23 21:45:24   Desc Main
                                                    Document     Page 45 of 51



                                                            Exhibit A

                                                          Filing Entities

Rite Aid Corporation

1515 West State Street, Boise, Idaho, LLC

1740 Associates, L.L.C.

4042 Warrensville Center Road – Warrensville Ohio, Inc.

5277 Associates, Inc.

5600 Superior Properties, Inc.

Advance Benefits, LLC

Apex Drug Stores, Inc.

Ascend Health Technology LLC

Broadview and Wallings-Broadview Heights Ohio, Inc.

Design Rx Holdings LLC

Design Rx, LLC

Designrxclusives, LLC

Drug Palace, Inc.

Eckerd Corporation

EDC Drug Stores, Inc.
                   Case 23-18993-MBK      Doc 1    Filed 10/15/23 Entered 10/15/23 21:45:24   Desc Main
                                                  Document     Page 46 of 51



Elixir Holdings, LLC

Elixir Pharmacy, LLC

Elixir Puerto Rico, Inc.

Elixir Rx Options, LLC

Elixir Rx Solutions of Nevada, LLC

Elixir Rx Solutions, LLC

Elixir Rx Solutions, LLC

Elixir Savings, LLC

First Florida Insurers of Tampa, LLC

GDF, Inc.

Genovese Drug Stores, Inc.

Gettysburg and Hoover-Dayton, Ohio, LLC

Grand River & Fenkell, LLC

Harco, Inc.

Health Dialog Services Corporation

Hunter Lane, LLC

ILG – 90 B Avenue Lake Oswego, LLC

JCG (PJC) USA, LLC
                  Case 23-18993-MBK   Doc 1    Filed 10/15/23 Entered 10/15/23 21:45:24   Desc Main
                                              Document     Page 47 of 51



JCG Holdings (USA), Inc.

Juniper Rx, LLC

K & B Alabama Corporation

K & B Louisiana Corporation

K & B Mississippi Corporation

K & B Services, Incorporated

K & B Tennessee Corporation

K&B Texas Corporation

K & B, Incorporated

Lakehurst and Broadway Corporation

Laker Software, LLC

LMW – 90B Avenue Lake Oswego, Inc.

Maxi Drug North, Inc.

Maxi Drug South, L.P.

Maxi Drug, Inc.

Maxi Green Inc.

Munson & Andrews, LLC

Name Rite, L.L.C.
                    Case 23-18993-MBK   Doc 1    Filed 10/15/23 Entered 10/15/23 21:45:24   Desc Main
                                                Document     Page 48 of 51



P.J.C. Distribution, Inc.

P.J.C. Realty Co., Inc.

PDS-1 Michigan, Inc.

Perry Drug Stores, Inc.

PJC Lease Holdings, Inc.

PJC Manchester Realty LLC

PJC of Massachusetts, Inc.

PJC of Rhode Island, Inc.

PJC of Vermont Inc.

PJC Peterborough Realty LLC

PJC Realty MA, Inc.

PJC Revere Realty LLC

PJC Special Realty Holdings, Inc.

RCMH LLC

RDS Detroit, Inc.

READ’s, Inc.

RediClinic Associates, Inc.

RediClinic of Dallas-Fort Worth, LLC
                  Case 23-18993-MBK     Doc 1    Filed 10/15/23 Entered 10/15/23 21:45:24   Desc Main
                                                Document     Page 49 of 51



RediClinic of DC, LLC

RediClinic of DE, LLC

RediClinic of MD, LLC

RediClinic of PA, LLC

RediClinic of VA, LLC

RediClinic LLC

RediClinic US, LLC

Richfield Road – Flint, Michigan, LLC

Rite Aid Drug Palace, Inc.

Rite Aid Hdqtrs. Corp.

Rite Aid Hdqtrs. Funding, Inc.

Rite Aid Lease Management Company

Rite Aid of Connecticut, Inc.

Rite Aid of Delaware, Inc.

Rite Aid of Georgia, Inc.

Rite Aid of Indiana, Inc.

Rite Aid of Kentucky, Inc.

Rite Aid of Maine, Inc.
                  Case 23-18993-MBK       Doc 1    Filed 10/15/23 Entered 10/15/23 21:45:24   Desc Main
                                                  Document     Page 50 of 51



Rite Aid of Maryland, Inc.

Rite Aid of Michigan, Inc.

Rite Aid of New Hampshire, Inc.

Rite Aid of New Jersey, Inc.

Rite Aid of New York, Inc.

Rite Aid of North Carolina, Inc.

Rite Aid of Ohio, Inc.

Rite Aid of Pennsylvania, LLC

Rite Aid of South Carolina, Inc.

Rite Aid of Tennessee, Inc.

Rite Aid of Vermont, Inc.

Rite Aid of Virginia, Inc.

Rite Aid of Washington, D.C. Inc.

Rite Aid of West Virginia, Inc.

Rite Aid Online Store, Inc.

Rite Aid Payroll Management, Inc.

Rite Aid Realty Corp.

Rite Aid Rome Distribution Center, Inc.
                    Case 23-18993-MBK   Doc 1    Filed 10/15/23 Entered 10/15/23 21:45:24   Desc Main
                                                Document     Page 51 of 51



Rite Aid Specialty Pharmacy, LLC

Rite Aid Transport, Inc.

Rite Investments Corp.

Rite Investments Corp., LLC

Rx Choice, Inc.

Rx Initiatives, L.L.C.

Rx USA, Inc.

The Bartell Drug Company

The Jean Coutu Group (PJC) USA, Inc.

The Lane Drug Company

Thrift Drug, Inc.

Thrifty Corporation

Thrifty PayLess, Inc.

Tonic Procurement Solutions, LLC
